233 F.3d 995 (7th Cir. 2000)
    Duffy Tool &amp; Stamping, L.L.C., Petitioner/Cross-Respondent,v.National Labor Relations Board,  Respondent/Cross-Petitioner,andInternational Union, United Automobile,  Aerospace, and Agricultural Implement  Workers of America, AFL-CIO, Intervenor.
    Nos. 00-1626, 00-2032
    In the  United States Court of Appeals  For the Seventh Circuit
    Argued October 23, 2000Decided December 1, 2000
    
      Petition to Review and Cross-Petition  to Enforce Order of the  National Labor Relations Board.
      Before Posner, Diane P. Wood, and Williams, Circuit  Judges.
      Posner, Circuit Judge.
    
    
      1
      When a union wins an  election to be the exclusive bargaining  representative of a group of workers, the  employer becomes duty-bound to bargain in good  faith with the union. 29 U.S.C. sec. 158(a)(5).  The aim of the bargaining process is to negotiate  a collective bargaining agreement that will  define the terms and conditions of employment of  the represented workers during the term of the  agreement. There is no duty to agree, however,  and if the parties deadlock (reach "impasse," in  the jargon of labor law), the employer is free to  operate his business as he did before bargaining  began, and therefore he may alter the terms and  conditions of the workers' employment. E.g.,  Litton Financial Printing Div. v. NLRB, 501 U.S.  190, 198 (1991); Lapham-Hickey Steel Corp., 904  F.2d 1180, 1185 (7th Cir. 1990). He can also do  this if the union takes steps to delay or avoid  bargaining or if the alteration is necessary to  avoid serious hardship to the employer. E.g.,  Vincent Industrial Plastics, Inc. v. NLRB, 209  F.3d 727, 734 (D.C. Cir. 2000); Visiting Nurse  Services of Western Mass., Inc. v. NLRB, 177 F.3d  52, 57-58 (1st Cir. 1999). But if there is no  deadlock, no foot-dragging by the union, and no  exigency requiring an immediate change in the  terms or conditions of employment to stave off  disaster, the employer may not make such a change  unilaterally. Litton Financial Printing Div. v.  NLRB, supra, 501 U.S. at 198. This is an  important rule. The overriding goal of federal  labor law is labor peace, and is promoted when  the parties to a labor dispute avoid a test of  strength involving a strike or a lockout by  negotiating a collective bargaining agreement,  which will standardly include a no-strike clause,  thus assuring labor peace during the term of the  agreement (usually three years) and setting the  stage for future renewals of the agreement.  Anything that interferes with the negotiation  process and makes reaching agreement less likely  interferes with this goal.
    
    
      2
      It is against this policy background that we  consider the employer's argument in this case,  which is that it is free to make unilateral  changes in the terms and conditions of its  workers' employment as soon as the parties reach  deadlock on any issue in the negotiation. The  union won an election back in October of 1996.  During the course of the ensuing negotiations,  the company put forward a proposal to institute a  "no fault" attendance policy under which a tardy  worker would get a certain number of points for  every incident of tardiness, regardless of  whether he was at fault, and if he accumulated a  specified number of points could be fired. The  company's existing attendance policy was more  lenient. The union opposed the proposal. The  employer declared an impasse and on January 1,  1998, put the new policy into effect and later  fired some workers who might not have been fired  under the old policy. The Board found that while  the parties may have been deadlocked over the "no  fault" policy by the beginning of 1998, they were  not yet deadlocked on all the mandatory issues  for collective bargaining; they had not reached  an "overall impasse." The employer disagrees that  it had not yet reached an overall impasse with  the union, but there is enough evidence to  support the Board's conclusion, leaving the  employer to argue that piecemeal impasse, the  deadlock over the proposed new attendance policy,  was enough to free Duffy to implement the  proposal.
    
    
      3
      Decisions of the Fifth Circuit support this  position. NLRB v. Pinkston-Hollar Construction  Services, Inc., 954 F.3d 306, 311-12 (5th Cir.  1992); Nabors Trailers Inc. v. NLRB, 910 F.2d  268, 273 (5th Cir. 1990); Winn-Dixie Stores, Inc.  v. NLRB, 567 F.2d 1343, 1349-50 (5th Cir. 1978);  NLRB v. J.P. Stevens &amp; Co., 538 F.2d 1152, 1162  (5th Cir. 1976); A.H. Belo Corp. v. NLRB, 411  F.2d 959, 971 (5th Cir. 1969); NLRB v. Tex-Tan,  Inc., 318 F.2d 472, 480-81 (5th Cir. 1963).  Though only Winn-Dixie and Belo involved neither  foot-dragging by the union nor financial  exigencies compelling the employer to make the  change immediately, cf. Visiting Nurse Services of Western Mass., Inc. v. NLRB, supra, 177 F.3d  at 59; NLRB v. Triple A Fire Protection, Inc.,  136 F.3d 727, 738-39 (11th Cir. 1998), all the  cases make clear the Fifth Circuit's belief that  an employer is free to make a unilateral change  upon sufficient notice to enable the union to  discuss its objections with the employer, even if  the parties are in the midst of bargaining. The  Board, however, has repeatedly rejected the Fifth  Circuit's doctrine, RBE Electronics of S.D. Inc.,  320 N.L.R.B. 80, 81-82 (1995); Intermountain  Rural Electric Ass'n, 305 N.L.R.B. 783, 786  (1991), enforced, 984 F.2d 1562 (10th Cir. 1993);  Master Window Cleaning, Inc., 302 N.L.R.B. 373,  379 (1991), enforced, 15 F.3d 1087 (1994); Winn-  Dixie Stores, Inc., 243 N.L.R.B. 972, 974 (1979),  and other circuits have sided with the Board,  Vincent Industrial Plastics, Inc. v. NLRB, supra,  209 F.3d at 735; Visiting Nurses Services of  Western Mass., Inc. v. NLRB, 177 F.3d at 58; NLRB  v. Central Plumbing Co., 492 F.2d 1252, 1254 (6th  Cir. 1974), rightly in our view.
    
    
      4
      The employer's position would empty the duty to  bargain of meaning, and this in two respects: (1)  by removing issues from the bargaining agenda  early in the bargaining process, it would make it  less likely for the parties to find common  ground; (2) by enabling the employer to paint the  union as impotent, it would embolden him to hold  out for a deal so unfavorable to the union as to  preclude agreement.
    
    
      5
      (1) A negotiation is more likely to be  successful when there are several issues to be  resolved ("integrative bargaining") rather than  just one, because it is easier in the former case  to strike a deal that will make both parties feel  they are getting more from peace than from war.  Howard Raiffa, The Art and Science of Negotiation  97-103, 131-32 (1982). If the only thing at issue  in a labor negotiation is wages, that is, money,  the parties are playing a zero-sum game: a dollar  more in wages is a dollar gained by the union but  a dollar lost by the employer. But suppose a dues  checkoff is also at issue. Since it probably is  worth more to the union not to have to dun the  workers for their union dues than it costs the  employer to deduct the dues from the worker's  paycheck and remit them to the union, the union  may be willing to give a little in bargaining  over wages in order to get the dues checkoff.  Similarly, the employer may be willing to "pay"  for a no-strike clause by agreeing to a grievance  procedure jointly administered by the union and  the employer, and that may be a concession that  the union very much wants in order to give the  workers a sense that the union is protecting them  from arbitrary discipline by the employer. With  both parties eager for this trade, it may be  easier for them to compromise on other issues.  The particular trade creates value that can be  used to fund, as it were, other concessions by  both sides, bringing the parties nearer to the  state in which both feel better off with an  agreement than with a strike.
    
    
      6
      The employer points out that the implementation  of a proposal need not remove it from the  negotiation, since it can always be rescinded.  The point is literally but not practically  correct. The employer may be able to make  implementation irrevocable as a practical matter  by sinking heavy costs in the implementation and  thus committing himself to stay the course, for  example by laying off a number of workers  pursuant to the adopted proposal and hiring  permanent replacements under contracts providing  for generous severance benefits. In addition, the  employer will be reluctant to lose face with the  workers by abandoning a measure that it put into  effect during the negotiation to show (see next  paragraph) that the union could do nothing for  them, and he may also fear that if he  renegotiates after declaring a deadlock it will  strengthen the union's contention in the ensuing  proceedings before the Labor Board that the  parties had not in fact deadlocked.
    
    
      7
      (2) If by deadlocking on a particular issue the  employer is free to implement his proposal with  regard to that issue, he signals to the workers  that the union is a paper tiger. Vincent  Industrial Plastics, Inc. v. NLRB, supra, 209  F.3d at 735; Visiting Nurses Services of Western  Mass., Inc. v. NLRB, supra, 177 F.3d at 59. This  is especially true when as in this case the  proposal reduces the workers' job security  compared to what it was before the election. It  makes it look as if the workers are actually  worse off as the result of the election--which of  course is what the employer, looking forward to a  possible strike vote and to the eventual  decertification of the union, wants them to  think. By undermining support for the union, the  employer positions himself to stiffen his demands  in what remains of the bargaining process,  knowing that if the process breaks down the union  may be unable to muster enough votes to call a  strike. This stiffening of terms is likely to  cause the process to break down, since the union  cannot afford, by moderating its own demands, to  acknowledge that it is indeed a paper tiger.
    
    
      8
      There is a further and we think conclusive  objection to the employer's position. There  really is no such animal as a deadlock on a  single issue in a multifaceted negotiation; or if  there is it is vanishingly rare, a truly  endangered species. Nothing is more common during  a negotiation than for one or both parties to  make nonnegotiable demands. Usually this is  bluffing, since if the negotiation is truly  multifaceted, there is generally a price at which  the parties will surrender these demands. Anyone  who has been involved in a negotiation knows  this. Suppose you're negotiating with a builder  over the terms for the construction of a house.  You are very concerned about delay and ask that  he agree to include a liquidated-damages clause  that will obligate him to reduce the contract  price by $100 for every day that completion is  delayed beyond six months from the signing of the  contract. He refuses indignantly, saying that he  never agrees to a damages-for-delay clause, that  the risk is too great given the uncontrollable  contingencies of construction, that you should  find someone else to build your house. You would  be foolish to take this emphatic refusal at face  value, as creating an impasse that placed the  issue beyond negotiation. Raiffa, supra, at 142-  45. You would probably come back to him with an  offer to extend the deadline for completion, or  to accept a somewhat higher purchase price to  compensate him for assuming the risk of delay, or  to reduce the amount of per diem damages.
    
    
      9
      That is doubtless the case here as well. It is  inconceivable that the employer is so wedded to a  "no fault" attendance policy--an idea that first  occurred to it during the negotiation--that it  would not abandon the policy in exchange for a  suitable concession in some other term of the  collective bargaining agreement. Not that an  employer has no legitimate concern with  absenteeism; of course it does; but until the  union came on the scene the employer had not  thought a "no fault" policy the right way to deal  with the problem. Suppose the workers care above  all about their job security and are therefore  desperate to have any discharges for absenteeism  governed by a "for cause" rather than a "no  fault" standard. Then the employer might be able  to extract generous concessions in exchange for  backing down from his demand. An unreasonable  refusal to even consider backing down from a  demand plainly not central to the employer's  business or labor relations would itself be a  sign of bad faith. See NLRB v. Wright Motors,  Inc., 603 F.2d 604, 608-10 and n. 5 (7th Cir.  1979); NLRB v. A-1 King Size Sandwiches Inc., 732  F.2d 872, 877-78 (11th Cir. 1984); NLRB v. Patent  Trader, Inc., 415 F.2d 190, 198 (2d Cir. 1969),  modified on other grounds, 426 F.2d 791 (2d Cir.  1970) (en banc); NLRB v. Reed &amp; Prince Mfg. Co.,  205 F.2d 131, 139 (1st Cir. 1953); see also  Federal Mogul Corp., 212 N.L.R.B. 950, 951  (1974), enforced, 524 F.2d 37 (6th Cir. 1975).
    
    
      10
      For all these reasons, we think the Board is on  sound ground in insisting that the employer  bargain until it is plain that the parties are  deadlocked in the negotiation as a whole, a point  not reached here. As for the employer's complaint  that the provision of the Board's remedy that  seeks to restore the status quo by rescinding the  "no fault" attendance policy and reinstating the  workers fired under it will require the  reinstatement of the workers that the company  would have fired even under the previous, more  lenient policy, we do not read the order so. The  order directs the company to reinstate with  backpay employees "discharged, suspended, or  otherwise denied work opportunities as a result  of the work rules" (emphasis added). The order is  not intended to make any worker better off than  he would have been had the company not violated  the law by instituting the new attendance policy  before it had bargained to impasse.
    
    
      11
      The petition for review is denied, and the  cross-petition to enforce the Board's order is  granted.
    
    